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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

RICHARD W. DEOTTE et al.,                    )
                                             )
                Plaintiffs,                  )       Case No. 4:18-CV-00825-Y
                                             )
         v.                                  )
                                             )
ALEX M. AZAR II, in his official             )
capacity as Secretary of Health and          )
Human Services et al.,                       )
                                             )
                Defendants.                  )

                                        NOTICE OF APPEAL

         PLEASE TAKE NOTICE that Defendants Alex M. Azar II, in his official capacity as Secretary

of Health and Human Services; Steven T. Mnuchin, in his official capacity as Secretary of the Treasury;

Eugene Scalia, in his official capacity as Secretary of Labor; 1 and the United States of America hereby

appeal to the United States Court of Appeals for the Fifth Circuit from the Court’s Final Judgment

entered on July 29, 2019 [ECF No. 98], as well as all prior orders and decisions that merge into that

Judgment, including the Orders entered on March 30, 2019 and June 5, 2019 [ECF Nos. 33, 76].

    Dated: September 27, 2019                     Respectfully submitted,


                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  MICHELLE R. BENNETT
                                                  Assistant Branch Director


                                                   /s/ Daniel Riess
                                                  DANIEL RIESS (Texas Bar # 24037359)
                                                  Trial Attorney
                                                  U.S. Department of Justice

1
 Pursuant to Federal Rule of Civil Procedure 25(d)(1), Eugene Scalia is automatically substituted for his
predecessor, Patrick Pizzella, Acting Secretary of Labor.
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                                     CERTIFICATE OF SERVICE

        On September 27, 2019, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system of

the court. I hereby certify that I have served all parties electronically or by another manner authorized

by Federal Rule of Civil Procedure 5(b)(2) or the local rules.


                                                                 /s/ Daniel Riess
